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                       IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF OREGON



 RONALD-KENNETH STRASSER,                             Case No. 3:19-cv-1051-SI

                Plaintiff,                            ORDER

        v.

 STATE OF OREGON, et al.,

                Defendants.


Michael H. Simon, District Judge.

       Plaintiff filed this case on July 3, 2019. The Court granted Plaintiff's motion for leave to

proceed in forma pauperis on August 30, 2019. ECF 4. Pursuant to the Court’s Order dated

August 30, 2019, and mailed to Plaintiff, Plaintiff had 30 days to prepare a summons, complete

the U.S. Marshals Service Form, and submit those documents along with the operative complaint

to the Clerk of the Court for issuance of the summons and service of process. ECF 4. After

Plaintiff failed to do so, on January 6, 2020, the Court ordered Plaintiff to comply with the

August 30 Order, reminded Plaintiff of the service requirements of Rule 4(m) of the Federal

Rules of Civil Procedure, extended the date for Plaintiff to return the summons and U.S.

Marshals Service Form to February 6, 2020, instructed Plaintiff to return the U.S. Marshals

Service Form or independently serve Defendants, and explained that the case could be dismissed

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for lack of prosecution if Plaintiff failed to effectuate service of process in a timely manner.

ECF 11. Plaintiff did not return the summons, did not return the U.S. Marshals Service Form,

and did not timely file a Proof of Service with respect to any Defendant.

       Plaintiff filed two amended complaints. On March 16, 2020, the Court dismissed sua

sponte Plaintiff’s Second Amended Complaint with prejudice for failure to state a claim and for

Plaintiff’s failure to follow the Court’s orders. The Ninth Circuit reversed and remanded with

instructions to allow Plaintiff the opportunity to file an amended complaint to attempt to cure the

deficiencies identified by the Court. Upon remand, this Court explained the deficiencies in

Plaintiff’s Second Amended Complaint and allowed Plaintiff the opportunity to file a Third

Amended Complaint. ECF 33. The Court subsequently allowed Plaintiff to file a Fourth

Amended Complaint, which currently is the operative complaint.

       Both before the Court dismissed this case and after remand, however, Plaintiff never

returned the U.S. Marshals Service Form, or a completed summons, or other documents required

for service of process and to properly begin this lawsuit. Indeed, no summons has ever been

issued in this case. Rule 4(m) of the Federal Rules of Civil Procedure “provides that an action

against a defendant shall be dismissed without prejudice if that defendant is not served with a

copy of the summons and complaint within [90] days after the filing of the complaint, unless the

plaintiff can show good cause why service was not made within the [90] day period.” Townsel v.

Contra Costa Cty., Cal., 820 F.2d 319, 320 (9th Cir. 1987) (emphasis added); see also Fed. R.

Civ. P. 4(m) (“If a defendant is not served within 90 days after the complaint is filed, the court—

on motion or on its own after notice to the plaintiff—must dismiss the action without prejudice

against that defendant or order that service be made within a specified time. But if the plaintiff

shows good cause for the failure, the court must extend the time for service for an appropriate

period.” (emphasis added)).

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       Several Defendants have already appeared in this case and filed motions to dismiss

without raising the defense of insufficient service of process.1 ECF 52. Accordingly, those

Defendants have waived formal service. See Fed. R. Civ. P. 12(h)(1). Because no summons has

been issued in the case and Plaintiff has not returned the U.S. Marshals Service Form or filed a

Proof of Service, it appears that the remaining Defendants have not yet been formally served

with process as required under Rule 4(m).2 If these Defendants are not served with process or

waive serve of process, the Court must dismiss the claims against these Defendants under

Rule 4(m). Because of the circumstances of this case, with appeal and remand, the Court finds it

appropriate to extend the time for service of process.

       The Clerk of the Court is directed to send Plaintiff additional copies of a blank summons,

U.S. Marshals Service Form (USM 285), and the Order to Proceed In Forma Pauperis (ECF 4),

which describes the procedure Plaintiff must follow to effectuate service of process. Plaintiff

must follow the instructions and return the summons, U.S. Marshals form, and copies of the

Fourth Amended Complaint to the Court by September 17, 2021, for the Marshals to effectuate

service on the Defendants who have not yet appeared in this action. If Plaintiff intends to

effectuate his own service, Plaintiff need only return the summons so that it may be issued.




       1
         These Defendants are: State of Oregon, Governor Kate Brown, Shelley Hoffman, Katy
Coba, Robert D. Herndon, Jeffery S. Jones, Thomas J. Rastetter, Debbie Spradley, John S. Foote,
Christopher K. Haywood, Department of Public Safety Systems and Training, Samantha G.
Olson, and All Clerks of Clackamas County Court and their Associates.
       2
         These Defendants are: Craig Roberts, Clackamas County Sheriff; Dave M. Ellington,
Clackamas County Under Sheriff; Daniel Joseph O'Keefe, Clackamas County Sheriff Deputy;
Greg Keppler, Clackamas County Sheriff Deputy; Eric Machado, Clackamas County Risk and
Safety Manager; David O’Shaughnessy, Captain; Corey R. Smith, Sergeant; Morgan Guthner,
Clackamas County Sheriff Deputy; Donald Krupp, County Administrator; Laurel Butman, Chief
Executive Officer Deputy; Ken Humberston, Commissioner; Oregon State Sheriff's Association;
Sheriff Pat Garrett, 2017 OSSA President & Washington County Sheriff.


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Plaintiff, however, then must serve those Defendants according to the Federal Rules of Civil

Procedure and file a Proof of Service. The Court extends the deadline for service under

Rule 4(m) until November 19, 2021.

       IT IS SO ORDERED.

       DATED this 25th day of August, 2021.

                                                    /s/ Michael H. Simon
                                                    Michael H. Simon
                                                    United States District Judge




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